                                                                                         FILED
                                                                                2021 Dec-22 PM 01:15
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHEN DISTRICT OF ALABAMA
                         EASTERN DIVISION

CANDACE RIVERS;                       ]
                                      ]
      Plaintiff,                      ]
v.                                    ]      Case No. 1:21-cv-01226-ACA
                                      ]
NOOM, INC.;                           ]
                                      ]
      Defendant.                      ]

           PLAINTIFF’S RESPONSE TO SHOW CAUSE ORDER

      COMES NOW, the Plaintiff Candace Rivers (“Plaintiff Rivers”) and

respectfully files the following response to the Court Order to Show Cause (Doc. 2).

The Plaintiff has filed an amended complaint in this matter (Doc. 3). The Plaintiff

has served a copy of the amended complaint, along with Waiver of Service forms

pursuant to Fed.R.Civ.P. 4(d). (Doc. 4).

                                      Respectfully submitted,

                                      s/ H. Gregory Harp
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